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D. lolzer - March 28, 2012

 

 

 

 

     

 

 

 

Page 125
Paga 125
1 with you in prison?
| 2 A Yes.

| Q And, as best you can recall, what
4 was the nature of the discussion?
5 A Well, basically, over - all the :
6 things that we went over. :
7 I explained to him what Waverly
8 was, what it was all about, how the business
9 operated, and just gave him a working
10 knowledge of the businass.
11 Q Did you have any discussion about
12 the fact that your family members had been
13 named as defendants in this lawsuit?
14 A Did that come up then? I'm not
15. sure.
16 | Q Did you, at any time, ask him to
17 withdraw the names of your family members from
18 the lawsuit?
19 A At that particular time?
20 @ At any time.
21 A We talked about it. Yes.
22 Q And what did you say to him and what
23 did he say to you?
24 A I would say that I told him that
25 they weren't involved.

 

 

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Paga 126

1 They shouldn't be invelved. There
2 was other people that weren't involved. Why

3 are these people involved. You know what I'm

4 saying?

5 Q Did you tell him that Mr. Fingerhut
6 wasn't involved?

7 A He never asked mea that question.

8 Q Did you tell him that -

9° . Did he ever ask you if any of the

10 money went to Mr. Fingerhut, as he did teday?
Li . A No.

12 | Q Did he ever ask you if any of thea

13 money went to any of the Fingerhut-Holzer

14 antities?

15 A I don't - maybe. I just don't

16 recall.

17 9 Okay.

18 | But, to the extent that you had

19 such a conversation, would you have given him
20 any answers that were different from the
21 ! answers that you gave today?
22 | A No.
23 Q There was no attempt to give him any
24 imprassion that was different than the
25 impressions you gave today with your answers

 

 

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Page 127
about who was involved and who wasn't involved?

A No.

 

 

So;-as far as-you--can- recabl,--toth
extent that he asked about any of these subject
matters, your answers at the time would bea
consistent with your answers today?

A Corract,

MR. FOLKENFLIK: Okay.

 

Nothing further.

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(Whereupon, the Deposition
of DAVID HOLZER concluded at 12:10

P.M.)

 

 

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Page 128
1 DEPONENT'S CERTIFICATE

2 STATE OF

 

 

 

COUNTY /CIT

 

 

 

4 Before me, this day, personally

5 appeared DAVID HOLZER, who, being duly sworn,

6 states that the foregoing transcript of his/her
7 Deposition, taken in the matter, on the date,

8 and at the time and place set cut on thea title

9 page hereof, constitutes a true and accurate

 

10. transcript of said deposition.
11
12

 

13 : DAVID HOLZER
14

15
16
17 Signed and subscribed to bhefora me

18 this day of ,20

 

 

19

NOTARY PUBLIC, STATE OF NEW YORK
20

 

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1 DEPOSITION ERRATA SHEET
2 Assignment No.: 350617
Case Caption:
vs.

4 FINGERHUT, ET AL.

5 DECLARATION UNDER PENALTY OF PERJURY

6 I declare under panalty of perjury

7 that I have read the entire transcript of my

8 Deposition taken in the captioned matter or the
9 same has been read to me, and the same is true
10 and accurate, save and except for changes and/or
Li corrections, if any, as indicated by me on the
12 DEPOSITION ERRATA SHEET hereof, with the

13 understanding that I offer these changes as if
14 still under oath.

15 Signed on the sso day of , 20

16

Li DAVID HOLZER

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DAVID HOLZER
24
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Li REPORTER'S CERTIFICATE
2
3 Ly CTNOY’ SCHULTZ, “a Coure’ R °

 

 

   

4, Notary Public in and for the State of New York,

5 do hereby certify that I recorded

6 stenographically the proceedings herein at the
7 time and place noted in the heading hereof, and
8 that the foregoing transcript is true and

9 accurate to the best of my knowledge, skill and
LO ability.

Li IN WITNESS WHEREOF, I have hereunto
12 set my hand.

13
14

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16 CINDY SCHULTZ
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ITEM 1 E2150 SECURITY AND ISSUER

the class of equity securities to which this Statement on Schedule 13D {rhe
“Statement”) relates is the Common Stock, $0.01 par velue ("Common Stock"$ of
with its grinctpal

VCampus Corporation, a Delaware corporation ("¥Campus",
executive offices located at 1850 Centennial Park Drive, Suite 200,

Reston, VA 20252,

ITEM 2 ELLS@ IDENTITY AND BACKGROUND

 

fa}. NAHE

(b). BUSINESS ADDRESS 299 Park Avenue, 32nd Floor, New York, NY 10622

(¢).  ENPLOYMENT Investment Hanager; Fingerhut Partners, LLC
Fingerhut has not been convicted in

{a}. During the lest five years, Mr.
lar violations).

a criminal proceeding (excluding treffie or simi

fe). During the last Five vears, Mr. Fingerhut hes net been @ party
to a civil proceeding of a judicial or administrative body of competent
jurisdiction which resulted in (i) a judgment, decree or Final order
enjoining future violations of, ox prohibiting or mandating activities
subject tea, Federal or state securities laws or {ii} Finding any violation
with respect to such laws.

It}. Mx. Fingerhut is a citizen of the United States.

TEM 3. SOURCE AND AMOUNT OF FUNDS OR OTHER CONSIDERATION

‘
On Nay 18, 2004, §125,000 in principal amount ef a convertible note held by

Mx. Fingerhut was automatically converred, upon shareholder approval, into

76,788 shares of the Common Stock of VCampus. On March 23. 2006 Hr. Fingerhut
used $1,150,000 of his personal funds to purchase 1,150 shares of Series B-i
Preferred Stock of VCampus and a warrant for the purchase af 590,000 shares

of the camtion Stock of VCampus (the &#147B-1 Warrant&#l48) . In Batistaction of”
VCampus&#146 cash dividend obligation to Hr. Fingerhut for the quarters ended ,
June 30, 2006, September 30, 2006, December 31, 2006, March 317 2607 aad... _

‘June 30, 2007, VCampus issued a total of 247 shares o£ Series B-1 Preferred

Stock, in the aggregate, to Mr. Fingerhut. In exchange for Mr. Fingerhut’s.
agreement te accept future dividends in additional shares of Series 8-1

Preferred Stock instead of cash, on October 31, 2006 VCampus issued 4 warrant

to Mr. Fingerhut for the purchase of 500,000 shares of VCampus Common Stock

{in replacement of the B-1 Warrant) and a new warrant for the purchase of an
additional 225,000 shares af VCampus Common Stock, Additionally, on

October 31, 2006, VCampus filed an Amended Certificate of Designations far the
Series B-] Preferred Stock which, among other things, made the Series B-1
Preferred stock immediately convertible, at the option of the holder, into
vCampus Common Stock and changed the formula that determines the conversion
price. The current conversion price floor for the Series B-1 Preferred Stock
is $0.37 per share- Based upon the fact that the Series B-1 Preferred Stock
became immediately convertible into VCampus Common Stock at $0.37 per share.
Mr, Fingerhut's beneficial awnership of VCampus Common Stock could be deemed
to-have increased by 3,156,756 shares effective on October 31, 2006.

On January 25, 2008, 307.5 shareS of Series A-t Preferred stock {convertible
into a otal of T, ,000 Shares of common stock “at $0.40 per Share) and -
1,397 shares of Series B-1 Preferred Stock {convertible inte a toral of
3,775,676 shares ‘of common stock at ¢0:37 pex shard) were transferred to

Mr. Fingerhut by 4 business associate as consigeration for the cancellation»
,0£ debt owed to Mr. Fingerhut by the business associate in an amount equal
te the original purchase price of the shares acquired by the business .
associate. Hur. Fingerhut disclaims beneficial ownership of the shares

of common stock issuable to him upon conversion of the Series B-1 Preferred
Steck and upon exercise of the Series 8-1 Warrant to the extent that

‘Schedule 13D

CUSIP No. 92240C 30 8

such shares may not be deemed peneficially owned by hin
conversion price ard exercise price not being fixed.

by virtue of the

ITEM 4, PURPOSE OF TRANSACTION

Mr. Fingerhut acquired his shares of VCampus for investment and not with the
purpose of changing ox influencing the control ef VCampus. Mr. Fingerhut does
not have any plan or proposal which relates to or would result in any actions
enumerated in subitems (a) through {3} of Item 4 of Schedule 13D, except that
Hr. Fingerhut may dispose of some or all of the Common Stock or may acquire
additional shares of Common Stock from time to time. depending upon price and
market conditions, evaluation of alternative investments, and other Factors
and Mr. Fingerhut has From time to time in the past and is currently in
discussions with VCampus management and the other holders of VCampus
convertible debt and preferred stock redarding the terms under which

Hr. Fingerhut and other investors would convert their debt and preferred
secucities inte common stack. No definitive terms have been agreed upon,

but such recapitalization, if consummated, could result in a change in,
contral of the Company and/or the composition of the Board of Directors.

 
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